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EXHIBIT 2


    US6346795                                      Vision Battery LFP Batteries (“The accused product”)
1. A discharge        The accused product comprises a discharge control (e.g., over discharging protection circuit) circuit for
control circuit for   controlling discharge of a battery (e.g., Lithium battery) including at least one cell (e.g., Lithium battery cells).
controlling
discharge of a
battery including
at least one cell
comprising:




                      https://visionbatteryusa.com/series/lfp-lithium-series-batteries/
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EXHIBIT 2




            https://visionbatteryusa.com/wp-content/uploads/2020/01/Iron-V-LFP12-50EV-Spec-She-et-
            V3.0%EF%BC%88DC.012.050-044%EF%BC%89.pdf
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EXHIBIT 2




            https://visionbatteryusa.com/wp-content/uploads/2020/01/Iron-V-LFP12-50EV-Spec-She-et-
            V3.0%EF%BC%88DC.012.050-044%EF%BC%89.pdf
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EXHIBIT 2


a discharge control   The accused product comprises a discharge control switch connected to the battery for cutting off a discharge
switch connected      current (e.g., turning off switch) of the battery in response to a discharge stop signal (e.g., over discharge control
to the battery for    signal provided by the control circuit).
cutting off a
discharge current     Upon information and belief, the accused product utilizes a discharge control switch in its Battery Management
of the battery in     System (BMS) to cut-off discharge current of the battery in response to a discharge stop signal provided by Cell
response to a         Protection.
discharge stop
signal; and




                      https://visionbatteryusa.com/wp-content/uploads/2020/01/Iron-V-LFP12-50EV-Spec-She-et-
                      V3.0%EF%BC%88DC.012.050-044%EF%BC%89.pdf
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EXHIBIT 2




            https://visionbatteryusa.com/wp-content/uploads/2020/01/Iron-V-LFP12-50EV-Spec-She-et-
            V3.0%EF%BC%88DC.012.050-044%EF%BC%89.pdf
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EXHIBIT 2


a control circuit     The accused product comprises a control circuit connected to the battery and the discharge control switch for
connected to the      generating -the discharge stop signal (e.g., over discharge control signal provided by the control circuit) that
battery and the       deactivates the discharge control switch when a voltage of at least one cell reaches a lower limit (e.g., over
discharge control     discharge detection voltage), wherein the control circuit includes a switch holding circuit (e.g., delay generating
switch for            circuit) for continuously supplying the discharge stop signal to the discharge control switch for a predetermined
generating -the       time (e.g., over-discharge delay time set by the circuit) after the discharge stop signal is generated.
discharge stop
signal that           Upon information and belief, the accused product utilizes a discharge control switch in its Battery Management
deactivates the       System (BMS) to cut-off discharge current of the battery in response to a discharge stop signal provided by Cell
discharge control     Protection.
switch when a
voltage of at least
one cell reaches a
lower limit,
wherein the
control circuit
includes a switch
holding circuit for
continuously
supplying the
discharge stop
signal to the
discharge control
switch for a
predetermined
time after the
discharge stop
signal is
generated.

                      https://visionbatteryusa.com/wp-content/uploads/2020/01/Iron-V-LFP12-50EV-Spec-She-et-
                      V3.0%EF%BC%88DC.012.050-044%EF%BC%89.pdf
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EXHIBIT 2




            https://visionbatteryusa.com/wp-content/uploads/2020/01/Iron-V-LFP12-50EV-Spec-She-et-
            V3.0%EF%BC%88DC.012.050-044%EF%BC%89.pdf
